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         EXHIBIT A
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                                                                                                       Service of Process
                                                                                                       Transmittal
                                                                                                       03/23/2022
                                                                                                       CT Log Number 541278915
   TO:         Legal Sop
               Best Buy Enterprise Services, Inc.
               7601 PENN AVE S
               RICHFIELD, MN 55423-3683

   RE:         Process Served in New Jersey

   FOR:        Best Buy Co., Inc. (Domestic State: MN)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                                  Re: JOSEPH MARMON and CHRISTINE MARMON // To: Best Buy Co., Inc.
   DOCUMENT(S) SERVED:                               Summons, Complaint, Certificate, Attachment(s), Request
   COURT/AGENCY:                                     GLOUCESTER COUNTY - SUPERIOR COURT, NJ
                                                     Case # GLOL00029622
   NATURE OF ACTION:                                 Personal Injury
   ON WHOM PROCESS WAS SERVED:                       C T Corporation System, West Trenton, NJ
   DATE AND HOUR OF SERVICE:                         By Process Server on 03/23/2022 at 03:01
   JURISDICTION SERVED :                             New Jersey
   APPEARANCE OR ANSWER DUE:                         Within 35 days after service, , not counting the date of receipt
   ATTORNEY(S) / SENDER(S):                          Robert J. Incollingo
                                                     401 Kings Highway South, Suite 3B
                                                     Cherry Hill, NJ 08034
                                                     856-857-1500
   ACTION ITEMS:                                     CT has retained the current log, Retain Date: 03/23/2022, Expected Purge Date:
                                                     03/28/2022

                                                     Image SOP

                                                     Email Notification, Legal Sop ctlegalsop@bestbuy.com

   REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                     820 Bear Tavern Road
                                                     West Trenton, NJ 08628
                                                     877-564-7529
                                                     MajorAccountTeam2@wolterskluwer.com
   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
   relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
   of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
   advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
   therein.




                                                                                                       Page 1 of 1 / OM
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                                                                     Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                         Wed, Mar 23, 2022

Server Name:                  Drop Service




Entity Served                 BEST BUY CO., INC.

Case Number                   GL0L00029622

J urisdiction                 NJ




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      Robert J. Incollingo, Esq.
     401 Kings Highway South, Suite 3B
      Cherry Hill, New Jersey 08034
     (856) 857-1500
      RJI@RJILAW.COM
      NJ Attorney ID 031291990
      Attorney for Plaintiffs Joseph Marmon and Christine Marmon


                                           )            SUPERIOR COURT OF NEW -JERSEY
     JOSEPH MARMON and CHRISTINE )                      LAW DIVISION
     MARMON,                               )
                                           )            GLOUCESTER COUNTY
                            Plaintiffs,    )
     vs.                                   )            DOCKET NO. GLO-L-000296-22
                                           )
     BEST BUY CO., INC., a Minnesota )                  Civil Action
     corporation trading as Geek Squad; and)
     DOES 1 through 100, inclusive,       )             SUMMONS
                                          )
                            Defendants.   )
                                          )

             From The State of New Jersey to the Defendant(s) Named Above:

              The plaintiffs, named above,have filed a lawsuit against you in the Superior Court ofNew
     Jersey. The complaint attached to this summons states the basis for this lawsuit. Ifyou dispute this
     complaint, you or your attorney must file a written answer or motion and proofofservice with the
     deputy clerk ofthe Superior Court in the county listed above within 35 days from the date you received
     this summons,not counting the date you received it.(A directory ofthe addresses ofeach deputy clerk
     ofthe Superior Court is available in the Civil Division Management Office in the county listed above
     and online at http://www.njcourts.gov/fonns/10153 deptyclerklawrefpdf) Ifthe complaint is one in
     foreclosure,then you must file your written answer or motion and proofofservice with the Clerk of
     the Superior Court,Hughes Justice Complex,P.O. Box 971,Trenton,NJ 08625-0971. A filing fee
     payable to the Treasurer,State ofNew Jersey and a completed Case Information Statement(available
     from the deputy clerk ofthe Superior Court)must accompany your answer or motion when it is filed.
     You must also send a copy ofyour answer or motion to plaintiffs attorney whose name and address
     appear above,or to plaintiff, ifno attorney is named above. A telephone call will not protect your
     rights; you must file and serve a written answer or motion(with fee of$175.00 and completed Case
     Information Statement) if you want the court to hear your defense.
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            If you do not file and serve a written answer or motion within 35 days,the court may enter a
     judgment against you for the reliefplaintiffdemands,plus interest and costs ofsuit. Ifjudgment is
     entered against you,the Sheriff may seize your money, wages or property to pay all or part ofthe
     judgment.

              Ifyou cannot afford an attorney, you may call the Legal Services office in the county where you
     live or the Legal Services ofNew Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529).
     Ifyou do not have an attorney and are not eligible for free legal assistance, you may obtain a referral
     to an attorney by calling one ofthe Lawyer Referral Services. A directory with contact information for
     local Legal Services Offices and Lawyer Referral Services is available in the Civil Division Management
     O ffice         in     the      county          listed         above          and       online        at
     http://www.judiciary.state.nj.us/prose/10153 deptyclerklawref.pdf.

     DATED: March 23, 2022                                                 \s\ Michelle M. Smith
                                                                           Clerk of the Superior Court




     Name of Defendant to be Served:                                       Best Buy Co., Inc.

     Name of Agent for Service of Process:                                 CT Corporation System
     Agent/SOP Address:                                                    820 Bear Tavern Road
                                                                           West Trenton NJ 08628




      RAIL\I 735Marmon pld\geeksquad.sum.wpd 3/23/22 RAIL\I 735Manuon pld\geeksquad.sum.wpd 3/23/22




                                                             SUMMONS - page 2
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      NJ Attorney ID 031291990
      Attorney for Plaintiffs Joseph Marmon and Christine Marmon


                                           )        SUPERIOR COURT OF NEW JERSEY
      JOSEPH    MARMON      and CHRISTINE  )        LAW DIVISION
      MARMON,                              )
                                            )       GLOUCESTER COUNTY
                             Plaintiffs,    )
      vs.                                   )       DOCKET NO.
                                           )
      BEST BUY CO., INC., a Minnesota )             Civil Action
      corporation also known as Best Buy Co.)
      of Minnesota, Inc., trading as Geek  )        COMPLAINT FOR:
      Squad; and DOES 1 through 100,        )        1. CONSUMER FRAUD (N.J.S.A. 56:8-19);
      inclusive,                            )        2. SPOLIATION OF EVIDENCE;
                                            )        3. NEGLIGENT HIRING;
                             Defendants.             4. NEGLIGENT RETENTION;
                                                     5. NEGLIGENT SUPERVISION;
                                                     6. NEGLIGENT ENTRUSTMENT;
                                                     7. FRAUD;
                                                     8. FRAUD;
                                                     9. CONVERSION; and
                                                    10. CIVIL LIABILITY FOR COMPUTER
                                                        RELATED OFFENSE (N.J.S.A. 2A:38A-1,
                                                        et seq.);
                                                    JURY DEMAND;
                                                    CERTIFICATION PURSUANT TO R. 4:5-1;
                                                    DESIGNATION OF TRIAL COUNSEL;
                                                    and
                                                    CERTIFICATE OF NOTICE [NJSA 56:8-20]

             Plaintiffs Joseph Marmon and Christine Marmon,husband and wife residing at 11 Sickler

      Court, Sewell, New Jersey 08080, complain and allege as follows:
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                                            FIRST COUNT
                                           (Consumer Fraud)

             1.      Plaintiffs Joseph Marmon and Christine Marmon are and at all times herein

      mentioned were husband and wife residing at 11 Sickler Court, Sewell in the Township of

      Washington, County of Gloucester, State of New Jersey 08080.

             2.      Plaintiffs Joseph Marmon and Christine Marmon, and each of them, are and at

      all times herein mentioned were "senior citizens" as defined in N.J.S.A. 56:8-1(f).

             3.      Plaintiffs are informed and believe and thereon allege that defendant Best Buy

      Co., Inc. is and at all times herein mentioned was a corporation organized and existing pursuant

      to the laws of the State of Minnesota, doing business at 1851 Deptford Center Road in the

      Township of Deptford, County of Gloucester and elsewhere in the State of New Jersey, with its

      principal executive offices located at 7601 Penn Avenue South, in the City ofRichfield, County

      of Hennepin, State of Minnesota 55423.

             4.      Plaintiffs are informed and believe and thereon allege that defendant Best Buy

      Co., Inc. is and at all times herein mentioned was also known as Best Buy Co. ofMinnesota,Inc.,

      and is so named upon the records of the Treasurer of the State of New Jersey, under Business

      Entity Identification Number 0100592316.

             5.      Plaintiffs are informed and believe and thereon allege that defendant Best Buy

      Co., Inc. is and at all times herein mentioned was trading as Geek Squad.

             6.      Plaintiffs are informed and believe and thereon allege that fictitiously named

      defendants Does 1 through 50,inclusive, are individuals residing in the State of New Jersey and

      elsewhere, whose actual names are presently unknown, and whose activities in this judicial



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      district subject them to the personal jurisdiction of this court. Plaintiffs will amend this

      complaint to state the true names of these fictitiously named defendants when ascertained.

             7.      Plaintiffs are informed and believe and thereon allege that fictitiously named

      defendants Does 51 through 100, inclusive, are associations or organizations, form unknown,

      doing business in the State of New Jersey, whose actual names are presently unknown, and

      whose activities in this judicial district subject them to the personal jurisdiction of this court.

      Plaintiffs will amend this complaint to state the true names ofthese fictitiously named defendants

      when ascertained.

             8.      Plaintiffs are informed and believe and thereon allege that all of the fictitiously

      named defendants, and each ofthem, at all times herein mentioned were the agents, employees,

      and servants of the other defendants, and each of them, and at all times pertinent hereto were

      acting within the course and scope of said employment and agency.

             9.      Wherever appearing in this complaint, each reference to defendants, or to any of

      them,is intended to be and shall be a reference to all defendants, and to each ofthem, named and

      unnamed, including all fictitiously named- defendants, unless the reference is otherwise

      specifically qualified.

              10.    Plaintiffs are informed and believe and thereon allege that each ofthe fictitiously

      named defendants Does 1 through 50, inclusive, directly participated in, directed, and/or
                         -
      individually committed the actions and failures to act herein complained of, through,for and on

      the part oftheir corporate co-defendants Best Buy Co.,Inc. and Does 51 through 100, inclusive.




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              11.      Plaintiffs are informed and believe and thereon allege that each ofthe defendants

      was at all times herein mentioned acting in concert with, and in conspiracy with, each and every

      one of the remaining defendants.

             12.       On or about Tuesday, February 15, 2022, plaintiff Joseph Marmon called

      defendant Best Buy Co., Inc. at its Deptford, New Jersey store on the telephone on behalf of

      himselfand his wife Christine Marmon,to arrange for repair or other restoration offunctionality

      to plaintiffs' nonworking computer printer.

             13.       Plaintiffs are informed and believe and thereon allege that at the time they called

      defendant Best Buy Co., Inc., plaintiffs and Best Buy Co., Inc. were parties to a Geek Squad

      Protection Plan computer service contract whereby in consideration of the contract price,

      defendant Best Buy Co.,Inc. undertook to diagnose and repair plaintiffs' computer and to protect

      plaintiffs from computer fraud, viruses and scammers.

             14.       Plaintiffs are informed and believe and thereon allege that at the time they called

      defendant Best Buy Co., Inc., certain oftheir personal contact and credit information, including

      information concerning how to log on remotely to plaintiffs' home laptop computer, was then

      in the keeping of the defendants from an earlier "Geek Squad" service transaction between

      plaintiffs and defendant Best Buy Co., Inc. pursuant to the above-described computer service

      contract.

             15.       Plaintiffs' February 15, 2022 telephone call to defendant Best Buy Co., Inc. was

      routed to and answered by defendant Doe 1. Defendant Doe 1 identified himself to plaintiffs

      as a Geek Squad agent, and he questioned plaintiff Joseph Marmon about his computer printer

      service issue.



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               16.    Defendant Doe 1 then directed plaintiffs to turn on plaintiffs' home computer so

       that he could access it remotely from the Geek Squad department ofthe defendant Best Buy Co.,

      Inc. to determine and address the source of the problem with the plaintiffs' computer printer.

               17.    Plaintiffs did as directed, whereupon defendant Doe I took remote control of the

       plaintiffs' home computer and told plaintiffs that he could see that plaintiffs' computer was being

      "hacked" by a third party who was trying, at night, to get into plaintiffs' personal bank account.

       Defendant Doe 1, speaking on the telephone while in remote control of plaintiffs' computer,

      showed plaintiffs alarming examples of what he said were attempts to enter plaintiffs' personal

       bank account during the night..

               18.    Defendant Doe 1 then told plaintiffs that he would transfer their telephone call

       to a Best Buy / Geek Squad security agent for them to speak with to address the problem.

      Defendant Doe 1 then transferred the call and gave over remote control of plaintiffs' computer

      to defendant Doe 2,, a woman who came on to the line and brought up plaintiffs' bank account

       website onto the shared screen of plaintiffs' home computer.

               19.    Defendant Doe 2 directed plaintiffs to enter plaintiffs' bank password into the

       bank website log-on page, so that she and plaintiffs could see if any money had been stolen.

      Plaintiffs did so. Defendant Doe 2 reviewed the bank account along with plaintiffs, and told

       plaintiffs that although it appeared that luckily no money had been taken,she would have to lock

       down the account so that defendants could catch the "hackers" before their next, possibly

       successful, attempted theft.

              20.     Defendant Doe 2 then directed plaintiffs to leave their computer on twenty-four

       hours a day so defendants could monitor the plaintiffs' bank account and catch whoever was



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       purportedly trying to hack plaintiffs' account. Defendant Doe 2 gave plaintiffs a telephone

       number,extension number and a password with which to call her, and she told plaintiffs that she

       and they would later communicate on the telephone to update plaintiffs on the purported fraud

       surveillance.

              21.      Immediately after that telephone call, plaintiffs had no online access to their bank

       account, and plaintiffs' home laptop computer was completely locked. Plaintiffs called

       defendant Doe 2 back on the telephone number she had given them, and asked defehdant Doe

       2 to free up the home laptop computer and restore plaintiffs' online access so that plaintiffs could

       look at their bank account. Defendant Doe 2 replied that her security team had discovered that

       plaintiffs' cell phones were also hacked, and that the surveillance would have to continue

       uninterrupted all night. Defendant Doe 2 told plaintiffs not to mention anything to anybody

       about the matter until her investigation was complete.

              22.      On Wednesday, February 16, 2022, defendant Doe 2 called plaintiffs on the

       telephone and told them that her security team had captured two people, one in Florida and one

       in Pennsylvania,trying to access plaintiffs' bank account, but that there were still more criminals

       at large trying to hack the account.

              23.      Defendant Doe 2 told plaintiffs that as they could see by what she showed them

      on their computer screen, that plaintiffs' own money was still on deposit, and she told plaintiffs

       that she wanted to make it clear that no one could get into plaintiffs' bank account unless

       plaintiffs called her and she removed her security "lock" on plaintiffs' laptop computer, but she

      said she wanted to ask plaintiffs if they could help defendants set a trap for the remaining




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       perpetrators. By doing this, defendant Doe 2 said, plaintiffs would be protecting elderly senior

       citizens from having their bank accounts cleaned out.

              24.     Plaintiffs told the phony fraud investigator defendant Doe 2they would be willing

       to assist in capturing the crooks. Defendant Doe 2 then freed up plaintiffs' bank account and told

       plaintiffs that defendants had deposited fifty thousand dollars into plaintiffs' bank account, to

       be added to the approximately thirty thousand dollars of plaintiffs' own money already there, as

       a lure to catch the hackers still at large. Defendant Doe 2, in remote control of plaintiffs' home

      laptop computer, showed plaintiffs what she said was a screen shot of plaintiffs' bank account,

       reflecting the supposed fifty thousand dollar deposit.

              25.     Defendant Doe 2 then told plaintiffs on the telephone to go to their bank and order

       an international wire transfer for thirty thousand dollars as part of the program to catch the

      remaining hackers. Defendant Doe 2 told plaintiffs to keep her on the telephone call the whole

      time they were going to their bank,and during the arrangement ofthe wire transfer, that plaintiffs

       had to be very circumspect and that she would tell plaintiffs what to tell the bank clerk.

              26.     Defendant Doe 2 coached plaintiffs through arrangement ofan international wire

      transfer while she remained on the telephone, and directed plaintiffs to drive home and call her.

      Back at their house, plaintiffs called the phony fraud investigator as directed, and defendant Doe

      2, in remote control of plaintiffs' laptop computer, photographed the wire transfer paperwork

      while plaintiffs, at her direction, held it up to the laptop's camera. Defendant Doe 2 said they

      could all talk the next day about the results of the planned sting operation.

              27.     On Thursday, February 17, 2022, plaintiffs called defendant Doe 2 on the

      telephone, and were told that the security team needed a couple ofdays to investigate suspicious



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       activity in plaintiff's Discover credit card account. Defendant Doe 2 told plaintiffs she would

       call them back.

              28.     On Friday, February 18,2022, plaintiffs called defendant Doe 2 on the telephone,

       but the phone was not answered.

              29.     On Saturday, February 19, 2022, plaintiffs again called defendant Doe 2 on the

       telephone, but the phone was not answered. They did not call on Sunday February 20, 2022.

              30.     On Monday, February 21, 2022, plaintiffs called defendant Doe 2 on the

       telephone, and defendant Doe 2 told plaintiffs that since it was Presidents' Day and a bank

       holiday, she could not give them the final word on resolution, but for plaintiffs to call her the

       next day.

              31.     On Tuesday,February 22,2022,plaintiffs called again for defendant Doe 2. This

       time the telephone line was disconnected.

              32.     Plaintiffs then called the fraud department at their bank. The bank representative

       said the bank would close plaintiffs' account immediately, and that it appeared that no fifty

       thousand dollar deposit had ever been made into the account. The thirty, thousand dollars

       withdrawn from the account by wire transfer had come from plaintiffs' own savings.

              33.     Thereafter plaintiff Joseph Marmon called defendant Best Buy Co., Inc. at its

      Deptford, New Jersey store on the telephone on behalf of himself and his wife Christine

       Marmon,and informed the employee who answered the line that he was calling to report a scam

       by their employee who had removed thirty thousand dollars from plaintiffs' bank account. The

       phone went dead, but then defendant Doe 3, a different Geek Squad representative of defendant

       Best Buy Co., Inc., came on the line and informed plaintiffs that he would have to make an



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       investigation case file on plaintiffs' complaint,and he then provided plaintiffs with a file number

      for their complaint.

              34.     Defendant Doe 3 then went in to plaintiffs' laptop computer remotely and started

       looking through all of plaintiffs' files, highlighting six files that he said the scammers had use

       to control plaintiffs' computer. Defendant Doe 3 immediately removed the highlighted files

      from plaintiffs' laptop, and asked plaintiffs for more information for the complaint investigation

      case file. Plaintiffs provided Defendant Doe 3 all the information he asked for and he ended the

      call.

              35.     On Wednesday,February 23,2022, plaintiffs' bank representative opened a new

       bank account for them, and plaintiffs set about "pointing" their automatic deposits and creditors

      to online connection to the new account. However,the banker instructed plaintiffs that no online

       account access could be provided to plaintiffs themselves so long as malicious software from the

      fraudulent scheme might remain on plaintiffs' home laptop computer, and that the home laptop

      computer should be checked for this.

              36.     Thereafter, on or about Wednesday,February 23, 2022, plaintiff Joseph Marmon

      called defendant Best Buy Co.,Inc. at its Deptford, New Jersey store on the telephone on behalf

       of himself and his wife Christine Marmon, to arrange for defendant Best Buy Co., Inc. / Geek

      Squad to check to see if there was any residual malware on plaintiffs' laptop computer. The

       Geek Squad agent who answered the phone remotely accessed plaintiffs' laptop computer and

      determined that the laptop still had malicious software,and he recommended that plaintiffs bring

      the laptop computer to the Deptford store have it attended to, but he could not offer an immediate

       appointment for that purpose.



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               37.     On Friday,February 25,2022,plaintiffJoseph Marmon called defendant Best Buy

        Co., Inc. at its Moorestown, New Jersey store, and secured an appointment to have plaintiffs'

        laptop computer looked at and the residual malware stripped out. Plaintiffs brought the laptop

        computer to the Moorestown store, where the resident Geek Squad agent, fictitiously named

        herein as defendant Doe 4, advised plaintiffs to restore the computer to "factory settings." In

        reliance on the advice given by Defendant Doe 4, plaintiffs authorized that particular work and

        it was performed by the defendants and the laptop computer was thereafter picked up by the

        plaintiffs and brought home.

               38.     After several days, plaintiffs called defendant Best Buy Co., Inc. to check up on

        their complaint investigation case file. The Best Buy Co., Inc. employee who answered the

        telephone looked up the plaintiffs' complaint investigation case file, but when plaintiffs asked

        him if plaintiffs could have a copy ofthe file, he informed plaintiffs he was unable to give them

        a copy. Plaintiffs immediately asked for a new case file to be opened for their request of a full

        report on the defendants'investigation,and were assigned a second complaint investigation case

        file number.

               39.     The next day, plaintiffs called defendant Best Buy Co.,Inc. at its Deptford, New

        Jersey store, and attempted to explained their problem to a store employee. They were told that

        a corporate representative would contact plaintiffs within forty-eight hours regarding their

        complaint. No such call was ever received.

               40.     The computer and printer repair services sold to plaintiffs by defendants are

        "merchandise" within the scope ofthe Consumer Fraud Act,Section 56:8-1(c)ofthe New Jersey

        Statutes.



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               41.     The conduct of defendants in connection with their sale and performance of

       computer and printer repair services to plaintiffs, herein complained of, constituted

       unconscionable commercial practices,deception,false pretense, misrepresentation and fraud,and

       unlawful affirmative acts and knowing omissions in violation ofthe New Jersey Consumer Fraud

       Act, N.J.S.A. 56:8-1, et seq.

              42.      As a proximate result of defendants' conduct and omissions herein complained

       of, plaintiffs have suffered an ascertainable loss of money and property in excess ofthe minimum

      jurisdiction of this court.

              43.      In the institution of these proceedings, plaintiffs have employed Robert J.

      Incollingo, Esquire as their attorney and ask that a reasonable attorney's fee be allowed and

       awarded plaintiffs for and account of said attorneys fees herein.

               WHEREFORE, plaintiffs Joseph Marmon and Christine Marmon request judgment

       against defendants and each of them, for refund of all moneys acquired by means of the

       consumer fraud,for compensatory damages,for prejudgment interest thereon,for treble damages

       according to statute, for reasonable attorneys' fees according to statute, for filing fees and

       reasonable costs of suit according to statute, and for such other and further legal and equitable

       relief as the Court may deem appropriate.

                                              SECOND COUNT
                                           (Spoliation of Evidence)

               1.      Plaintiffs reallege and incorporate herein by this reference paragraphs 1 through

      43, inclusive, of the first count of this complaint.

               2.      The misconduct complained of herein has resulted in the filing of the above-

       captioned civil litigation by plaintiffs.


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                3.        When defendants Doe 3 and Doe 4 destroyed the files used to remotely control

       plaintiffs' laptop computer and restored the plaintiffs'laptop computer to factory default settings,

       they knew or should have known that the misconduct complained of herein would probably

       result in litigation involving the plaintiffs.

                4.        The destruction of the files used to remotely control plaintiffs' laptop computer

       and the subsequent restoration of the plaintiffs' laptop computer to factory default settings by

       the defendants destroyed computer files which were potential evidence of the defendants'

       misconduct as alleged hereinabove, proximately resulting in disruption of the plaintiffs case.

                5.        Plaintiffs are informed and believe and thereon allege that the willful or possibly

       negligent destruction ofevidence by the defendants was designed to disrupt the plaintiffs' case.

                6.        The wrongful acts by Doe 3 and Doe 4 occurred within the scope of the said

       employees' employment, in furtherance of its business, and were known or should have been

       known by their employer,the defendant Best Buy Co.,Inc., which is vicariously and additionally

       liable therefor.

                7.        As a proximate result of the destruction of potential evidence by defendants,

       plaintiffs have sustained damage, namely plaintiffs' opportunity to prove their claims was

       interfered with substantially, and plaintiffs have suffered damages in a sum to be ascertained at

       trial.

                WHEREFORE, plaintiffs Joseph Marmon and Christine Marmon request judgment

       against defendants and each ofthem, for a finding by the Court that the evidence destroyed by

       the defendants would have been probative in favor ofthe plaintiffs on the legal and factual issues




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       herein alleged and that such finding be made the law ofthe case,for compensatory damages,for

       costs of suit, and for such other and further relief as the Court may deem just and proper.

                                            THIRD COUNT
                         (Negligent Hiring against defendant Best Buy Co., Inc.)

              1.      Plaintiffs reallege and incorporate herein by this reference paragraphs 1 through

      43, inclusive, of the first count of this complaint.

              2.      At all times herein relevant,defendant Best Buy Co.,Inc. owed a duty to plaintiffs

       and other members of the public to refrain from hiring unfit, dangerous, dishonest or

       incompetent persons to provide computer repair services to consumers such as the plaintiffs.

              3.      At all times herein relevant, fictitiously named defendant Doe 1 was unfit,

       dangerous, dishonest or incompetent to repair computers and sell related repair services.

              4.      Plaintiffs are informed and believe and thereon allege that defendant Best Buy

       Co., Inc. breached its duty through failure to use due diligence in screening defendant Doe 1

       when it hired him for the position of computer repair sales and services.

              5.      Plaintiffs are informed and believe and thereon allege that given reasonable

      foreseeability, defendant Best Buy Co., Inc. knew or should have known of the likelihood of

       harm resulting to third persons when it hired defendant Doe 1.

              6.      In the course of his sale and performance of computer repair services to the

       plaintiffs, defendant Doe 1, acting in concert and conspiracy with Doe 2, defrauded plaintiffs out

       of their savings as hereinabove alleged.

              7.      Defendant Best Buy Co., Inc.'s tortious misconduct in hiring defendant Doe 1 as

       its employee for the position ofsales and performance ofcomputer repair services to consumers

       was the proximate cause of plaintiffs' loss and damage as herein alleged.


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              WHEREFORE, plaintiffs Joseph Marmon and Christine Marmon request judgment

       against defendants and each of them, for compensatory damages,for costs of suit, and for such

       other and further relief as the Court may deem just and proper.

                                          FOURTH COUNT
                       (Negligent Retention against defendant Best Buy Co., Inc.)

              1.      Plaintiffs reallege and incorporate herein by this reference paragraphs 1 through

      43, inclusive, of the first count of this complaint.

              2.      At all times herein relevant, fictitiously named defendant Doe 1 was unfit,

       dangerous, dishonest or incompetent to repair computers and sell related repair services.

              3.      At all times herein relevant,defendant Best Buy Co.,Inc. owed a duty to plaintiffs

       and other members ofthe public to remove an employee,and in particular defendant Doe 1, after

      knowledge that the employee was abusing his authority or responsibility in a way that posed a

       danger to others.

              4.      Plaintiffs are informed and believe and thereon allege that defendant Best Buy

       Co., Inc. breached its duty when it retained defendant Doe 1 in the position of sales and

       performance of computer repair services to consumers, after knowledge that defendant Doe 1

       was abusing his authority or responsibility in a way that posed a danger to others.

              5.      Plaintiffs are infOrmed and believe and thereon allege that given reasonable

      foreseeability, defendant Best Buy Co., Inc. knew or should have known of the likelihood of

       harm resulting to third persons when it retained defendant Doe 1.

              6.      In the course of his sale and performance of computer repair services to the

       plaintiffs, defendant Doe 1, acting in concert and conspiracy with Doe 2,defrauded plaintiffs out

      of their savings as hereinabove alleged.


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              7.      Defendant Best Buy Co., Inc.'s tortious misconduct in retaining defendant Doe

       1 as its employee for the position of sales and performance of computer repair services to

       consumers was the proximate cause of plaintiffs' loss and damage as herein alleged.

              WHEREFORE, plaintiffs Joseph Marmon and Christine Marmon request judgment

       against defendants and each ofthem, for compensatory damages,for costs of suit, and for such

       other and further relief as the Court may deem just and proper.

                                           FIFTH COUNT
                      (Negligent Supervision against defendant Best Buy Co., Inc.)

              1.      Plaintiffs reallege and incorporate herein by this reference paragraphs 1 through

      43, inclusive, of the first count of this complaint.

              2.      At all times herein relevant, fictitiously named defendant Doe 1 was unfit,

       dangerous, dishonest or incompetent to repair computers and sell related repair services.

              3.      At all times herein relevant,defendant Best Buy Co.,Inc. owed a duty to plaintiffs

       and other members of the public to supervise its employees, and in particular defendant Doe 1,

       who were engaged in the sale and performance of computer repair services to consumers such

       as and including plaintiffs.

              4.      Plaintiffs are informed and believe and thereon allege that defendant Best Buy

       Co., Inc. breached its duty when it failed to supervise defendant Doe 1 in the sale and

       performance of computer repair services to plaintiffs.

              5.      Plaintiffs are informed and believe and thereon allege that given reasonable

      foreseeability, defendant Best Buy Co., Inc. knew or should have known of the likelihood of

       harm resulting to third persons such as and including plaintiffs when it failed to supervise

       defendant Doe 1.


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              6.      In the course of his sale and performance of computer repair services to the

       plaintiffs, defendant Doe 1, acting in concert and conspiracy with his fellow con artist Doe 2,

       defrauded plaintiffs out of their savings as hereinabove alleged.

              7.      Defendant Best Buy Co., Inc.'s tortious misconduct in failing to supervise its

       employee defendant Doe 1 was the proximate cause of plaintiffs' loss and damage as herein

       alleged.

              WHEREFORE, plaintiffs Joseph Marmon and Christine Marmon request judgment

       against defendants and each ofthem, for compensatory damages,for costs of suit, and for such

       other and further relief as the Court may deem just and proper.

                                           SIXTH COUNT
                      (Negligent Entrustment against defendant Best Buy Co., Inc.)

               1.     Plaintiffs reallege and incorporate hereinby this reference paragraphs 1 through

      43, inclusive, of the first count of this complaint.

              2.      At all times herein relevant, fictitiously named defendant Doe 1 was unfit,

       dangerous, dishonest or incompetent to repair computers and sell related repair services.

              3.      At all times herein relevant,defendant Best Buy Co.,Inc. owed a duty to plaintiffs

       and to safeguard plaintiffs' personal contact and credit information in its keeping.

              4.      Plaintiffs are informed and believe and thereon allege that defendant Best Buy

       Co., Inc. breached its duty when it allowed defendant Doe 1 access to plaintiffs' personal contact

       and credit information, which Doe 1 used for the purpose of selecting and grooming plaintiffs

       as victims in connection with the misconduct complained of in the first count.

              5.      Plaintiffs are informed and believe and thereon allege that given reasonable

      foreseeability, defendant Best Buy Co., Inc. knew or should have known of the likelihood of

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       harm resulting to third persons when it allowed defendant Doe 1 access to plaintiffs' personal

       contact and credit information.

              6.      In the course of his sale and performance of computer repair services to the

       plaintiffs, defendant Doe 1, acting in concert and conspiracy with Doe 2,defrauded plaintiffs out

       of their savings as hereinabove alleged.

              7.      Defendant Best Buy Co., Inc.'s tortious misconduct in failing to safeguard

       plaintiffs' personal contact and credit information was the proximate cause of plaintiffs' loss and

       damage as herein alleged.

               WHEREFORE, plaintiffs Joseph Marmon and Christine Marmon request judgment

       against defendants and each of them,for compensatory damages, for costs of suit, and for such

       other and further relief as the Court may deem just and proper.

                                            SEVENTH COUNT
                                           (Fraud against Doe 1)

               1.     Plaintiffs reallege and incorporate herein by this reference paragraphs 1 through

      43, inclusive, of the first count of this complaint.

              2.      When defendant Doe 1 told plaintiffs that he could see that plaintiffs' computer

       was being "hacked" by a third party who was trying, at night, to get into plaintiffs' personal bank

       account,and that he would transfer their telephone call to a Best Buy!Geek Squad security agent

      for them to speak with to address the problem,those statements were in fact false and known by

      Doe 1 to be false.

              3.      The misrepresentations set forth hereinabove were made by defendant Doe 1 with

      the intent to induce plaintiffs to rely on them and to believe in the spurious credentials of




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       defendant Doe 2, who was in fact defendant Doe l's confederate and fellow con artist working

       to defraud plaintiffs and to steal their savings.

              4.      Plaintiffs, at the time the misrepresentations were made, were ignorant of their

      falsity and believed them to be true. Plaintiffs reasonably relied on defendant Doe its statements,

       and such reliance wasjustified because plaintiffs were engaged in a contractual relationship with

       defendant Best Buy Co., Inc., a national and prestigious company, pursuant to the

       above-described computer service contract, and plaintiffs had a history of satisfactory past

      service transactions with "Geek Squad" employees and/or agents of Best Buy Co., Inc., and

       because defendant Doe 1 showed plaintiffs dummied-up but realistic apparent evidence of

       hacking on their computer screen in real time from his remote location at the Best Buy Co., Inc.

      store facility, and because plaintiffs had no way ofknowing that misidentified third parties with

      criminal intentions could be introduced to them in a telephone call to Best Buy Co., Inc.,

       wherefore plaintiffs had no reason to doubt or to inquire further into the truthfulness ofdefendant

      Doe l's assertions. In relianRe thereon, plaintiffs were induced to and did place their trust and

      confidence in defendant Doe 2, and entered into a further course ofdealings with defendant Doe

      2, to their detriment and ultimate damage as hereinabove alleged. Had plaintiffs known the

       actual facts, they would not have taken such action.

              5.       As a proximate result ofthe defendants' fraudulent misrepresentations, plaintiffs

       have been damaged in an amount to be ascertained at trial.

              6.       Defendants' acts and conduct as alleged in this cause of action were fraudulent,

       malicious and oppressive and done with the intent to vex, injure and annoy plaintiffs and in




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       conscious disregard of their rights. Plaintiffs are therefore entitled to award of punitive and

       exemplary damages in an amount sufficient to punish and deter.

               WHEREFORE, plaintiffs Joseph Marmon and Christine Marmon request judgment

       against defendant Doe 1 for compensatory damages, for exemplary damages in an amount

       sufficient to punish and deter, for costs of suit, and for such other and further relief as the Court

       may deem just and proper.

                                            EIGHTH COUNT
                            (Fraud against Doe 2 and Does 5 to 100, inclusive)

               1.      Plaintiffs reallege and incorporate herein by this reference paragraphs 1 through

      43, inclusive, ofthe first count, and paragraphs 2 through 6, inclusive, ofthe eighth count ofthis

       complaint.

              2.       When defendant Doe 2 told plaintiffs that she was part of a team of security

       agents monitoring the plaintiffs' bank account in order to catch whoever was purportedly trying

       to hack plaintiffs' account, and thereafter made a series of statements in furtherance of her

      scheme to steal the savings from plaintiffs' bank account by wire transfer, those statements were

       in fact false, and she made those statements with the intention that plaintiffs rely on them.

              3.       Plaintiffs, at the time the misrepresentations were made, were ignorant of their

      falsity and believed them to be true. Plaintiffs reasonably and justifiably relied on defendant Doe

      2's statements because she was introduced to plaintiffs by defendant Doe 1, who plaintiffs trusted

      and reasonably relied on for all the reasons set forth above. In reliance thereon, plaintiffs were

      induced to and did place their trust and confidence in defendant Doe 2, and entered into a further

      course ofdealings with defendant Doe 2, to their detriment and ultimate damage as hereinabove

      alleged. Had plaintiffs known the actual facts, they would not have taken such action.


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               4.      As a proximate result ofthe defendants' fraudulent misrepresentations, plaintiffs

       have been damaged in an amount to be ascertained at trial.

               5.      Defendants' acts and conduct as alleged in this cause of action were fraudulent,

       malicious and oppressive and done with the intent to vex, injure and annoy plaintiffs and in

      conscious disregard of their rights. Plaintiffs are therefore entitled to award of punitive and

       exemplary damages in an amount sufficient to punish and deter.

               WHEREFORE, plaintiffs Joseph Marmon and Christine Marmon request judgment

       against defendants Doe 2 and Does 5 to 100, inclusive, for compensatory damages, for

       exemplary damages in an amount sufficient to punish and deter, for costs of suit, and for such

       other and further relief as the Court may deem just and proper.

                                            NINTH COUNT
                               (Conversion against Does 1 to 100, inclusive)

               1.      Plaintiffs reallege and incorporate herein by this reference paragraphs 1 through

      43, inclusive, of the first count of this complaint.

               2.      In doing the things herein complained of, defendants Does 1 to 100, inclusive,

       have wrongfully exercise dominion and control over property owned by plaintiffs, i.e., the thirty

       thousand dollars removed from plaintiffs' savings account, in a manner inconsistent with

       plaintiffs' rights.

               3.      As a proximate result ofthe defendants'tortious misconduct, plaintiffs have been

       damaged in an amount to be ascertained at trial.

               4.      Defendants' acts and conduct as alleged in this cause of action were fraudulent,

       malicious and oppressive and done with the intent to vex, injure and annoy plaintiff and in




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       conscious disregard of her rights. Plaintiffs are therefore entitled to award of punitive and

       exemplary damages in an amount sufficient to punish and deter.

               WHEREFORE,plaintiffs requestjudgment against defendants Does 1 to 100, inclusive,

       and each of them for compensatory damages, for punitive damages, for reasonable attorney's

      fees, costs of suit, pre-judgment interest, and for such other and further relief as the Court may

       deem just and proper.

                                            TENTH COUNT
               (Civil Liability for Computer Related offense - N.J.S.A. 2A:38A-1, et seq.)

               1.     Plaintiffs reallege and incorporate herein by this reference paragraphs 1 through

      43, inclusive, of the first count of this complaint.

              2.      The computer which defendants wrongfully accessed is located in the County of

       Gloucester, State of New Jersey, and where a terminal used in the accessing is situated, and

       where the actual damage occurred, wherefore venue of this action is proper under N.J.S.A.

      2A:38A-6.

              3.      Defendants accessed or attempted to access plaintiffs' computer under false

       pretenses and without legal authority in contravention of the statute in such cases provided,

       N.J.S.A. 2A:38A-3.a.

              4.      Defendants purposefully and knowingly accessed plaintiffs' computer and

       plaintiffs' online computerized bank records data, and obtained an international wire transfer,

       i.e., a transaction authorization mechanism and therefore a "financial instrument" under the

       statutory definition of N.J.S.A. 2A:38A-1.j., and obtained a computer representation of an

       international wire transfer, under false pretenses and without legal authority, in contravention of

       the statute in such cases provided, N.J.S.A. 2A:38A-3.d.


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               5.      Defendants purposefully and knowingly accessed and obtained data from

       plaintiffs' online computerized bank records under false pretenses and without legal authority,

       in contravention of the statute in such cases provided, N.J.S.A. 2A:38A-3.e.

              6.       As hereinabove alleged, plaintiffs have been damaged in their property as a result

       ofthe purposeful,knowing,and unauthorized accessing or attempt to access plaintiffs' computer

       by defendants, in an amount subject to proof at trial.

              7.      Pursuant to N.J.S.A. 2A:38A-3, plaintiff is entitled to recover from defendants

      on account of the conduct complained of, compensatory and punitive damages, costs of suit

       including a reasonable attorneys' fee, costs of investigation and litigation and, pursuant to

      N.J.S.A.2A:38A-5, injunctive relief.

              WHEREFORE, plaintiffs request judgment against defendants and each of them for

      compensatory damages, for punitive damages according to statute in an amount sufficient to

       punish and deter, for costs of suit, for attorney's fees according to statute, for costs of

       investigation and litigation according to statute, and for such other and further reliefas the Court

       may deem just and proper.

      Dated: March 22, 2022                   /s/ Robert J. Incollingo
                                              Robert J. Incollingo, Attorney for
                                              Plaintiffs Joseph and Christine Marmon

                                               JURY DEMAND

              Plaintiffs demand trial by jury.

      Dated: March 22, 2022                   /s/ Robert J. Incollingo
                                              Robert J. Incollingo, Attorney for
                                              Plaintiffs Joseph and Christine Marmon




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                               CERTIFICATION PURSUANT TO RULE 4:5-1

                 I hereby certify that the matter in controversy is not the subject of any other action

       pending in any other court and is likewise not the subject of any pending arbitration proceeding.

      I further certify that I have no knowledge of any contemplated action or arbitration proceeding

       which is contemplated regarding the subject matter of this action. I am not presently aware of

       any other party who should be joined in this action. I further certify that confidential personal

       identifiers have been redacted from documents now submitted to the court, and will be redacted

      from all documents submitted in the future in accordance with Rule 1:38-7(b). I recognize the

      continuing obligation of each party to file and serve on all parties and the Court an amended

      certification if there is a change in the facts stated in this original certification.



      Dated: March 22, 2022                    /s/ Robert J. Incollingo
                                               Robert J. Incollingo, Esq.

                                    DESIGNATION OF TRIAL COUNSEL

                 In accordance with R. 4:5-1(c) and R. 4:25-4, Robert J. Incollingo, Esquire is hereby

       designated as trial counsel for the plaintiffs Joseph Marmon and Christine Marmon in the above

       matter.

      Dated: March 22, 2022                    /s/ Robert J. Incollingo
                                               Robert J. Incollingo, Attorney for
                                               Plaintiffs Joseph and Christine Marmon




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                                       CERTIFICATE OF NOTICE

              Pursuant to NJSA 56:8-20, plaintiffs are mailing a copy of this complaint to the Office

       of the Attorney General, Division of Consumer Affairs, P.O. Box 45025, Newark, New Jersey

      07101, within 10 days after the filing of such pleading with the court.


      Dated: March 22, 2022                 /s/ Robert J. Incollingo
                                            Robert J. Incollingo, Attorney for
                                            Plaintiffs Joseph and Christine Marmon


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                         Civil Case Information Statement
[-Case Details: GLOUCESTER I Civil Part Docket# L-000296-22

 Case Caption: MARMON JOSEPH VS BEST BUY CO.,                     Case Type: TORT-OTHER
 I NC.                                                            Document Type: Complaint with Jury Demand
 Case Initiation Date: 03/22/2022                                 Jury Demand: YES - 6 JURORS
 Attorney Name: ROBERT JOHN INCOLLINGO                            Is this a professional malpractice case? NO
 Firm Name: ROBERT J. INCOLLINGO                                  Related cases pending: NO
 Address: 401 KINGS HIGHWAY SOUTH STE 3B                          If yes, list docket numbers:
 CHERRY HILL NJ 08634.                                            Do you anticipate adding any parties (arising out of same
 Phone: 8568571500                                                transaction or occurrence)? YES
 Name of Party: PLAINTIFF : Marmon, Joseph
                                                                  Are sexual abuse claims alleged by: Joseph Marmon? NO
 Name of Defendant's Primary Insurance Company
(if known): Unknown
                                                                  Are sexual abuse claims alleged by: Christine Marmon? NO



     .THEINFORMATION-PROVIDED-ON THIS,FORAI CANNOTDE INTRODUCED INTO EVIDENCE
     ,
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? NO
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party? YES
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:



  Do you or your client need any disability accommodations? NO
          If yes, please identify the requested accommodation:



  Will an interpreter be needed? NO
           If yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? YES




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 03/22/2022                                                                             /s/ ROBERT JOHN INCOLLINGO
 Dated                                                                                                       Signed
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       Robert J. Incollingo, Esq.
      401 Kings Highway South, Suite 3B
       Chen-y Hill, New Jersey 08034
      (856) 857-1500
       RJI@RJILAW.COM
       NJ Attorney ID 031291990
       Attorney for Plaintiffs Joseph Marmon and Christine Marmon


                                            )        SUPERIOR COURT OF NEW JERSEY
      JOSEPH MARMON and CHRISTINE )                  LAW DIVISION
      MARMON,                               )
                                            )        GLOUCESTER COUNTY
                             Plaintiffs,    )
      vs.                                  )         DOCKET NO. GLO-L-000296-22
                                            )
      BEST BUY CO., INC., a Minnesota )              Civil Action
      corporation also known as Best Buy Co.)
      of Minnesota, Inc., trading as Geek  )         PLAINTIFFS' REQUEST FOR
      Squad; and DOES 1 through 100,       )         PRODUCTION,INSPECTION AND
      inclusive,                            )        COPYING OF DOCUMENTS AND
                                            )        TANGIBLE THINGS TO DEFENDANT
                             Defendants.    )        [RULE 4:18]
                                            )
                                                     PROPOUNDING PARTIES:
                                                          Christine Marmon and Joseph Marmon
                                                     RESPONDING PARTY:
                                                          Best Buy Co., Inc.

      TO DEFENDANT BEST BUY CO., INC.:

              PLEASE TAKE NOTICE that plaintiffs Christine Marmon and Joseph Marmon,
      represented by attorney Robert J. Incollingo, demand that defendant Best Buy Co.,Inc. produce
      for inspection, copying and photographing the following described documents and tangible
      things pursuant to Rule 4:18, on Friday, May 20,2022 at 10:00 a.m. at the Law Office of Robert
      J. Incollingo, 401 Kings Highway South, Suite 3B, Cherry Hill, NJ 08034:

       A.    Definitions.

              As used herein:

              1.     All references to plaintiffs shall mean plaintiffs Christine Marmon and Joseph
      Marmon, or either of them or where applicable in context, their employees, consultants,
      representatives and agents, and all other persons acting or purporting to act on their behalf
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             2.     "Document" means a "writing" as that term is comprehensively defined in Rule
      801(e)ofthe New Jersey Rules ofEvidence, and shall include without limitation all e-mails and
      e-mail attachments.

              3.      "All documents" means every document, as above defined, whether an original
       or copy, known to you and every such document which can be located or discovered by
       reasonably diligent efforts.

             4.      "Pertaining to" means consisting of, relating to, referring to, supporting,
      connected with, commenting on, discussing, showing, describing, mentioning, analyzing,
      evidencing, or having any logical or factual connection with the matter referred to.

             5.     "Meeting" means any coincidence or presence of, or telephone conversations
      between persons, whether such meeting was by chance, pre-arranged, formal, informal, or in
      connection with some other activity or not.

              6.     "Communication" means any oral or written transmittal or receipt of words or
      information, by whatever manner or means, and regardless of how or by whom the
      communication was initiated and shall include any contact between two or more persons
      including without limitation written contact by transmittal of any document as hereinabove
      defined, and oral contact by face to face meeting or by telephone. Reference to communication
      with business entities shall be deemed to include all officers, directors, employees, agents or
      other representatives of such entities.

              7.     "And" and "any" mean "any and all."

              8.      "Representative" means any person who acts, has at any time acted, or has at any
      time by any person been requested or solicited to act, at another's request, for another's benefit,
      or on another's behalf, or who so acts or who has so acted at any time with another's knowledge,
      consent, or acquiescence.

             2.      "You" and "your" mean and include the responding party Best Buy Co., Inc., its
      agents, employees and attorneys, and all persons acting for and on behalf of said entity during
      the time period covered by this request.

      B.      Instructions.

               1.     All documents are to be produced in their original file folders, binders or other
      covers. When a document or group of documents is taken out of the file folder, binder, cover,
      file drawer,file box, or notebook, but where the same is produced, a copy ofthe label on the said
      cover from which the document or group of documents was removed is to be attached thereto.




            PLAINTIFFS' REQUEST FOR PRODUCTION,INSPECTION AND COPYING OF
           DOCUMENTS AND TANGIBLE THINGS TO DEFENDANT[RULE 4:18] - page 2
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              2.       Ifa document is in a language other than English, an English language translation
       thereof is to be produced with the document.

               3.      If documents covered by this request are withheld under a claim of privilege, a
      list identifying each document for which privilege is claimed, together with the following
      information: date, author, recipient, persons to whom copies were furnished, together with their
      job titles, subject matter, all bases on which privilege is claimed,the person on whose behalfthe
      privilege is asserted and the paragraph of this request to which such documents are responsive
      is to be furnished.

              4.      The form in which the document is maintained does not affect its availability.
      If a document is maintained in a computer, you are required to retrieve that document pursuant
      to this request and provide a legible printout with the requested document. The process of
      retrieving the computer-based information may result in the creation of a new document when
      the data is printed out on paper or written on computer disk or other media. Since this may be
      the only way computerized data can be disclosed, you are to provide the data even if it means
      that a new document must be created. Any record layouts/data dictionaries and code sheets
      necessary to interpret the data are to be produced with the document and its printout.

            5.     You shall specify which documents are produced in the response to each of the
      numbered paragraphs.

              If any document herein requested was formerly in the possession, custody or control of
       defendant Best Buy Co., Inc. and has been lost or destroyed, responding party is requested to
       submit in lieu of each document a written statement which:

             (a)      Describes in detail the nature of the document and its contents;

             (b)      Identifies the person who prepared or authorized the document and,if applicable,
                      the person to whom the document was sent;

             (c)      Specifies the date on which the document was prepared or transmitted or both;

             (d)      Specifies, if possible, the date on which the document was lost or destroyed, and,
                      if destroyed, the conditions of or reasons for such destruction and the persons
                      requesting and performing the destruction.

              If any documents otherwise required to be produced by this request are withheld,
      responding party shall identify the document by stating its date;author, recipients and the reason
      for withholding.




          PLAINTIFFS' REQUEST FOR PRODUCTION,INSPECTION AND COPYING OF
         DOCUMENTS AND TANGIBLE THINGS TO DEFENDANT [RULE 4:18] - page 3
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             This request for production of documents is continuing and any document obtained or
      located subsequent to production which would have been produced had it been available or its
      existence known at the time is to be supplied forthwith.

             6.       Time Period. The following designated items for production pertain to the events
      noted in plaintiffs' complaint and the complaint investigation files filed by plaintiffs Christine
      Marmon and Joseph Marmon pursuant to the terms of their Geek Squad repair services
      agreement. Unless otherwise specifically qualified,the documents sought are those coming into
      existence after January 1, 2017.

      C.      Document Requests.

              1.      The defendant Best Buy Co., Inc.'s complete file pertaining to plaintiffs' first
      customer complaint made in or about February 2022, more fully referred to in plaintiffs'
      complaint, believed to have been assigned Best Buy / Geek Squad customer complaint
      investigation file number 281783714 (hereinafter, "Claim #281783714"), including but not
      limited to the following:

             (a)All intra-office and interoffice memoranda or other forms of written communication
             (including without limitation, all e-mails)to or from any representative ofdefendant Best
              Buy Co., Inc. pertaining to the intake and initial evaluation of Claim #281783714;

             (b)All written communication between defendant Best Buy Co.,Inc. and any third party
              pertaining to the intake and initial evaluation of Claim #281783714;

             (c) All written communication between defendant Best Buy Co., Inc. and plaintiffs
              Christine Marmon and Joseph Marmon or their representatives pertaining to the intake
              and initial evaluation of Claim #281783714;

             (d) All intra-office and interoffice memoranda or other forms of written communication
             (including without limitation, all e-mails)to or from any representative ofdefendant Best
              Buy Co., Inc. pertaining to the continuing evaluation and processing of Claim
             #281783714;

             (e)All written communication between defendant Best Buy Co., Inc. and any third party
              pertaining to the continuing evaluation and processing of Claim #281783714;

             (f) All written communication between defendant Best Buy Co., Inc. and plaintiffs
              Christine Marmon and Joseph Marmon or their representatives pertaining to the
              continuing evaluation and processing of Claim #281783714;

             (g) All intra-office and interoffice memoranda or other forms of written communication
             (including without limitation, all e-mails)to or from any representative ofdefendant Best


            PLAINTIFFS' REQUEST FOR PRODUCTION,INSPECTION AND COPYING OF
           DOCUMENTS AND TANGIBLE THINGS TO DEFENDANT[RULE 4:18] - page 4
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             Buy Co., Inc. pertaining to the investigation of Claim #281783714, including related
             investigative reports and police reports;

            (h)All written communication between defendant Best Buy Co.,Inc. and any third party
             pertaining to the investigation of Claim #281783714, including related investigative
             reports with exhibits and police reports;

            (i) All written communication between defendant Best Buy Co., Inc. and plaintiffs
             Christine Marmon and Joseph Marmon or their representatives pertaining to the
             investigation of Claim #281783714, including related investigative reports and police
             reports;

            (j) All intra-office and interoffice memoranda or other forms of written communication
            (including without limitation, all e-mails)to or from any representative ofdefendant Best
             Buy Co., Inc. pertaining to the proposed resolution of Claim #281783714;

            (k)All written communication between defendant Best Buy Co.,Inc. and any third party
             pertaining to the proposed resolution of Claim #281783714; and

            (1) All written communication between defendant Best Buy Co., Inc. and plaintiffs
             Christine Marmon and Joseph Marmon or their representatives pertaining to the
             proposed resolution of Claim #281783714.

              2.      The defendant Best Buy Co.,Inc.'s complete file pertaining to plaintiffs' second
      customer complaint made in or about February 2022, more fully referred to in plaintiffs'
      complaint, believed to have been assigned Best Buy / Geek Squad customer complaint
      investigation file number 282240508 (hereinafter, "Claim #282240508"), including but not
      limited to the following:

            (a) All intra-office and interoffice memoranda or other forms of written communication
            (including without limitation, all e-mails)to or from any representative ofdefendant Best
             Buy Co., Inc. pertaining to the intake and initial evaluation of Claim #282240508;

            (b)All written communication between defendant Best Buy Co.,Inc. and any third party
             pertaining to the intake and initial evaluation of Claim #282240508;

            (c) All written communications between defendant Best Buy Co., Inc. and plaintiffs
             Christine Marmon and Joseph Marmon or their representatives (including without
             limitation, all e-mails) pertaining to the intake and initial evaluation of Claim
            #282240508;

            (d) All intra-office and interoffice memoranda or other forms of written communication
            (including without limitation, all e-mails)to or from any representative ofdefendant Best


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            Buy Co., Inc. pertaining to the continuing evaluation and processing of Claim
            #282240508;

            (e)All written communications between defendant Best Buy Co.,Inc. and any third party
             pertaining to the continuing evaluation and processing of Claim #282240508;

            (f) All written communication between defendant Best Buy Co., Inc. and plaintiffs
             Christine Marmon and Joseph Marmon or their representatives pertaining to the
             continuing evaluation and processing of Claim #282240508;

            (g) All intra-office and interoffice memoranda or other forms of written communication
            (including without limitation, all e-mails)to or from any representative ofdefendant Best
             Buy Co., Inc. pertaining to the investigation of Claim #282240508, including related
             investigative reports and police reports;

            (h)All written communication between defendant Best Buy Co.,Inc. and any third party
             pertaining to the investigation of Claim #282240508, including related investigative
             reports with exhibits and police reports;

           (i) All written communications between defendant Best Buy Co., Inc. and plaintiffs
            Christine Marmon and Joseph Marmon or their representatives pertaining to the
            investigation of Claim #282240508, including related investigative reports and police
            reports;

           (j) All intra-office and interoffice memoranda or other forms of written communication
           (including without limitation, all e-mails)to or from any representative ofdefendant Best
            Buy Co., Inc. pertaining to the proposed resolution of Claim #282240508;

           (k)All written communications between defendant Best Buy Co.,Inc. and any third party
            pertaining to the proposed resolution of Claim #282240508; and

            (1) All written communication between defendant Best Buy Co., Inc. and plaintiffs
             Christine Marmon and Joseph Marmon or their representatives pertaining to the
             proposed resolution of Claim #282240508.

           (i) All photographs, motion pictures, or investigative reports ofdefendant Best Buy Co.,
           Inc. concerning plaintiffs, taken by or on behalf of defendant Best Buy Co., Inc.,
            pertaining to Claim #282240508;

           (j) All other written documents in the possession of defendant Best Buy Co., Inc.
            pertaining to the processing of Claim #282240508; and




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             (k) All file folders or file jackets and adjacent or related exhibit folders in which any
             documents or other items described above are filed or maintained.

             3.      Any ofthe documents described in Request numbers 1 or 2 above, including all
      sub-parts, that are filed or maintained outside of or apart from the defendant's customer
      complaint files.

             4.    All documents prepared by or for you pertaining to plaintiffs Christine Marmon
      and Joseph Marmon, or either of them, not described or requested above.

             5.      All computer files deleted by you from plaintiffs' laptop computer at any time.

             6.     All documents tending to support the contention that you are a valid corporation
      in good standing with the State of New Jersey.

             7.      All documents which comprise the Geek Squad computer service and repair
      contract existing at any time between you and plaintiffs, or either of them.

              8.      Any and all investigative reports, both governmental and private, not requested
      above,concerning the transactions or occurrences which are the subject ofthis action,including
      but not limited to any such reports by experts who are expected to be called as trial witnesses.

             9.      Any minutes or other written record of any meeting of an oversight committee,
      board ofdirectors, policy committee,customer service committee, Geek Squad management or
      agents' committee or similar group concerning the handling of Claim #281783714.

              10.    Any minutes or other written record of any meeting of an oversight committee,
      board ofdirectors, policy committee, customer service committee, Geek Squad management or
      agents' committee or similar group concerning the handling of Claim #282240508.

             1 1.    The complete personnel file for each Best Buy Co., Inc.'s Geek Squad agent,
      employee or representative who had direct dealings or communications with plaintiffs Christine
      Marmon and Joseph Marmon,or either ofthem,pertaining to the matters alleged in the plaintiffs
      complaint or the defenses asserted in the defendants' answer.

               12.     All statements and interviews with persons associated with the matters alleged
      in the plaintiffs' complaint or the defenses asserted in the defendant's answer.

              13.    All manuals, corporate policy statements, or other documents pertaining to the
      processing ofcustomer complaints against defendant Best Buy Co.,Inc.'s Geek Squad computer
      repair and service agents, technicians, managers, customer service representatives, and other
      personnel, including any changes or alterations to those manuals, statements, or documents.



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               14.    All manuals,educational materials, and written instructions used for the training
       of defendant Best Buy Co., Inc.'s Geek Squad computer repair and service agents, technicians,
       managers, customer service representatives, and other personnel who were involved in
       processing plaintiffs Christine Marmon and Joseph Marmon's customer complaints.

              15.    All human resource / personnel manuals, materials, guidelines and written
      instructions used for the selection and hiring of defendant Best Buy Co., Inc.'s Geek Squad
      computer repair and service agents,technicians, managers,customer service representatives,and
      other personnel who had direct dealings or communications with plaintiffs Christine Marmon
      and Joseph Marmon, or either of them, pertaining to the matters alleged in the plaintiffs
      complaint or the defenses asserted in the defendants' answer.

             16.     Any letters, memoranda,or other documentation relating to a state administrative
      or other governmental review of any relevant issue regarding the processing of plaintiffs
      Christine Marmon and Joseph Marmon customer complaints or a customer complaint similar to
      the ones submitted by plaintiffs Christine Marmon and Joseph Marmon.

               17.     All documents referred to in your answers to Interrogatories served by any other
       party in the within litigation.

             18.     Any and all written or recorded statements of any person(s) pertaining to the
      matters alleged in the defendant Best Buy Co., Inc.'s answer to plaintiffs' complaint or the
      defenses asserted in the answer by any of the defendants herein.

             19.     Any and all documents which may or will be used as an exhibit at trial or any
      evidentiary hearing in this matter including color copies of any responsive photographs.

               20.  Any and all documents which have been provided to any expert or lay witness
       who may or will be called to testify on your behalf at a trial or any evidentiary hearing in this
       matter.

               21.     Any and all documents which you contend evidence your registration of all
       alternate corporate names used by you in the manner required by N.J.S.A. 14A:2-2.1(6).

              22.      The declaration page ofany policy ofinsurance through which you were or might
       be insured in any manner for the damages, claims or actions that have arisen out of the facts
       alleged in plaintiffs' complaint.

              23.     Copies ofany fidelity bonds for bonding employees,including but not limited to
      business services bonds, employee dishonesty bonds, or other bonds which provide protection
      for you or your customers and clients from dishonest acts by your employees in the State ofNew
      Jersey.



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               24.     Copies ofany surety bonds not described above, which may answer for the claims
       alleged in plaintiffs' complaint filed and served in this litigation.

              25.      All documents which you contend support or establish of your affirmative
       defenses to plaintiffs' claims, damages or refutation of claims made in this litigation.

             26.      All documents which identify the man referred to as Doe 1 in plaintiffs'
      complaint.

             27.      All documents which identify the woman referred to as Doe 2 in plaintiffs'
      complaint.

             28.      All documents which identify the man referred to as Doe 3 in plaintiffs'
      complaint.

              29.     The written response required by Rule 4:18, itemized with particularity as to the
      categories for production described in all other requests for production of documents served by
      other parties in this case.

             30.    The Certification or Affidavit of Completeness required by Rule 4:18-1(c),
      submitted by the person responding to this request.

              PLEASE TAKE FURTHER NOTICE that plaintiffJoseph and Christine Marmon request
      that defendant Best Buy Co.,Inc. serve the written response required by Rule 4:18,itemized with
      particularity as to the above described categories for production, within 50 days after service of
      this request upon you.



      Dated: March 22, 2022                 /s/ Robert J. Incollingo
                                            Robert J. Incollingo, Attorney for
                                            Plaintiffs Joseph and Christine Marmon




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                        CERTIFICATION OR AFFIDAVIT OF COMPLETENESS
                                         Rule 4:18 (c)

      I(the undersigned)hereby certify(or aver)that I have reviewed the document production request
      and that I have made or caused to be made a good faith search for documents responsive to the
      request. I(each ofthe undersigned)further certify(or aver)that as of this date, to the best of my
      knowledge and information,the production is complete and accurate based on( )my personal
      knowledge and/or (_ )information provided by others. I acknowledge my continuing
      obligation to make a good faith effort to identify additional documents that are responsive to the
      request and to promptly serve a supplemental written response and production of such
      documents, as appropriate, as I become aware ofthem. The following is a list ofthe identity and
      source of knowledge of those who provided information to me:




      DATED:
                                             Authorized agent for Best Buy Co., Inc.




                                            Print Name Here




      CARM1L\1735Marmon\dsc\mannon2geeksquadspd.wpd 3/22/22




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GLOUCESTER COUNTY COURTHOUSE
GLOUCESTER COUNTY CIVIL DIVISION
1 NORTH BROAD ST
WOODBURY         NJ 08096
                                             TRACK ASSIGNMENT NOTICE •
COURT TELEPHONE NO. (856) 878-5050
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   MARCH 22, 2022
                             RE:     MARMON JOSEPH VS BEST BUY CO., INC.
                             DOCKET: GLO L -000296 22

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON JOHN C. EASTLACK. JR

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      103
AT:   (856) 878-5050 EXT 15251.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: ROBERT J. INCOLLINGO
                                             ROBERT J. INCOLLINGO
                                             401 KINGS HIGHWAY SOUTH
                                             STE 3B
                                             CHERRY HILL      NJ 08034

ECOURTS
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